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June 15, 2018
V!A ECF

Hon. Richard M. Berman
United States District Court
Southern District of New York
500 Pearl Street, Courtroom l7B
New York, New York 10017

Re: S.E.C. v. Shapz'ro, et al., No. l:lS-cv-07045-RMB-RWL
Dear Judge Berman:r

Counsel for Defendant Tyler G. Peters and the Securities & Exchange
Commission (the “Commission”) jointly submit this letter to seek an adjournment of the
deadline for Mr. Peters to respond to the Complaint, currently set as June 18.

The parties believe adjourning the June 18 deadline is appropriate to allow time
for the Court to address issues raised in a pre-motion letter that Mr. Peters submitted on
June 13 (the “Pre-Motion Letter”). See Dkt. No. llO. The anticipated motion would ask
the Court to reconsider and clarify certain aspects of its recent decision, which denied
Mr. Peters’ motion to dismiss the Complaint. See Dkt. No. 107. The Court endorsed the
Pre-Motion Letter, on June 14, and set June 18 as the Commission’s deadline to respond
- also the deadline for Mr. Peters to respond to the Complaint. See Dkt. No. lll.

The parties respectfully request that the Court adjourn Mr. Peters’ time to respond
to the Complaint until 14 days after the status conference scheduled for June 21. Such an
adjournment would serve the interests of justice and judicial economy by giving the
Court an opportunity to address the issues raised in the Pre-Motion Letter and the
Commission’s anticipated response.

There have been five prior requests for an extension of time to respond to the
Complaint, which have all been granted. See Dkt. Nos. 22, 66, 89, 94, 95.

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Dated: June 15, 2018
New York, New York

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cc: Magistrate Judge Robert W. Lehrburger
All Counsel of Record (Via ECF)

SO ORDERED:

 

Hon. Richard M. Berman, U.S.D.J.

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Dated:

